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                                                                                       May 5, 2025
VIA ECF
Hon. Peggy Kuo
U.S. District Court for the Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

       Re:     Novagold Resources Inc. v. J Capital Research USA LLC,
               No. 20-cv-02875-LDH-PK; Joint Status Report

Dear Judge Kuo:

       On April 14, 2025, the Court requested a joint status report from the parties by May 5.

                          Plaintiff Novagold Resources Inc.’s Position

Party Fact Discovery. Novagold has several pending written discovery and deposition-related
requests to J Capital. Per the Court’s November 13, 2024 minute entry, J Capital’s objections to
these requests “will be decided after resolution of the discovery issues currently on appeal to the
Honorable DeArcy Hall,” specifically, in this context, J Capital’s appeal of the Court’s denial of
its motion for reconsideration of the R&R on the reporter’s privilege and anonymous speaker
issues, ECF No. 165, which remains pending.

Third Party Discovery. Shortly after the Court’s April 16, 2025 minute entry and order, Novagold
served targeted written discovery and deposition notices on the Intervenor. The Intervenor’s
written responses are due May 22, and two depositions have been noticed for the first week of
June. To the extent J Capital seeks below to raise issues with those requests, a joint status letter to
the Court is not the appropriate place to do that, even setting aside the merits. Notably, J Capital
has not sought to even sought meet and confer on these issues.

The Intervenor has appealed Judge DeArcy Hall’s ruling on the anonymous associaton privilege
to the Second Circuit. It notifed the Court of Appeals last week that it would be filing its brief on
July 17, 2025, meaning briefing will likely not be completed until late 2025.

Summary judgment. While Novagold seeks an expeditous resolution of this case, it opposes any
request by J Capital to move for summary judgment until all discovery issues have been resolved.
Regardless of whatever issues J Capital says it will limit its motion to, Novagold is entitled to a
full evidentiary record before opposing (and cross-moving for) summary judgment. Moreover, J
Capital’s proposal risks multiple rounds of summary judgment briefing and is inconsistent with
Judge DeArcy Hall’s prior ruling that Novagold’s motion for summary judgment on J Captial’s
counterclaim must await “the close of discovery.” See 8/24/23 Order.
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                             Defendant J Capital Research LLC’s Position

           1.     Party Discovery Status: Defendant JCap presently has no new document
    requests for NG but does request that NG meet its ongoing obligations regarding the past
    requests and those directed by the Court in February 2024. The last production of those
    documents was in November 2024. JCap presently has no more documents to produce under its
    own ongoing discovery obligations.

            2.      Motion for Summary Judgment; Pre-Motion Letter and Rule 56.1: JCap will
    shortly file its pre-motion letter for summary judgment and Rule 56.1 Statement required by
    Judge DeArcy Hall’s rules in advance of its Motion. JCap’s MSJ does not need to await
    resolution of any motions over NG’s discovery demands served on the Anonymous Intervening
    Party (“AIP”) because JCap will not be moving on actual malice grounds at this time.1

          3.     AIP’s Appeal to the Second Circuit: AIP has advanced its appeal of Judge
    DeArcy’s Hall’s 3/31/2025 order accepting Your Honor’s Report and Recommendation to the
    Second Ciruit. Again, nothing at issue in that appeal would have any bearing on JCap’s MSJ.

           4.     NG’s Discovery Demands to the AIP: JCap has its own objections to the recent
    discovery demands served on AIP and will present them to the Court in an appropriate
    procedural setting. The key grounds for JCap’s objections are:

           a. NG obtained revelation of AIP’s identity based on its repeated assurances to the
              Court that they were only looking for the “financial arrangement” with JCap and
              nothing more.2

           b. NG now seeks to break out of those assurances and the Court’s rulings by making
              the identical requests to AIP that the Court repeatedly ruled privileged under the
              absolute protections of New York’s Reporter’s Privilege. See generally 8/11/21 Oral
              Arg. on Mot. to Compel.

           c. In direct contradiction of NG’s representation to the Court that it was only seeking
              “financial information associated with a news organization,” NG has served on AIP
              discovery demands seeking “Any and all communications with J Capital []
              concerning Novagold.” NG Request for Production 1 to AIP.

           d. Your Honor denied NG’s motion to compel its request for production seeking “All
              documents, including all communications to or from JCAP that reflect any
              editorial input, editorial oversight, edits or suggested edits or revisions or suggested
              revisions or comment of or concerning the Report by any person prior to its

1
  NG has repeatedly represented to the Court that it needs this discovery from AIP to meet its actual malice burden.
See Tra., 12/22/22 Argument on Motion To Compel, at 45: 19-20 (“financial arrangement related to this report is
critical and necessary to that malice issue”). JCap has produced and answered NG’s requests regarding its financial
arrangement with the AIP.
2
  NG’s counsel admitted that its requests had been poorly crafted, but at hearing the Court refocused his requests to
be addressed to the “financial arrangement” with the AIP. That was the putative justification for revealing the
identity of the AIP.
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             publication,” as this request was “completely covered by the reporter’s privilege
             because it’s editorial.” See 8/11/21 Oral Arg. Tr., at 55: 12-14.

         e. Your Honor multiple times ruled that the Reporters Privilege shielded editorial
            process. Your Honor ruled that the Report is “news” and § 79-h’s privileges apply.
            See 6/28/24 Hearing Tr., at 15: 22-25 (“I ruled on that many years ago. I found that
            the report is news”).

         f. Your Honor stated that JCap did not even have to disclose whether it had internal
            communications with a confidential third-party. See 8/11/21 Oral Arg. Tra., at 59: 2-
            4 (“Because even if there were such communication, I don’t know that they need to
            tell you that they exist.”).

         g. When NG was given another opportunity to challenge whether the relationship with
            the AIP was indeed confidential, NG told the Court that it was not going to do so.
            See 8/2/24 Joint Status Conf., at 5:18-19 (“I don’t think we’re going to try to make
            another showing [to overcome the reporter’s privilege]”).

       NG’s repeated efforts to re-litigate and re-argue the Court’s multiple prior rulings on the
Reporters Privilege are costly and vexatious to JCap. NG has never made the showings required
to overcome any of the privileges asserted, despite the Court’s intivation. See 1/19/22 Minute
Order. Not by present NG counsel nor by its prior counsel. If NG is looking to discover if a
claim might exist against AIP, discovery in this case is not the place to do so. It is not Rule 26
relevant to our case. And under Rule 45, the narrower construction of “relevance” applies.

         JCAP asks that the Court reconfirm that nothing about the Report and Recommendation,
nor its adoption by Judge DeArcy Hall on AIP’s identity disturbs the protection for any editorial
process by any person to or from JCAP.

        To the extent that NG’s demand of “any and all communications” seeks “any editorial
input, editorial oversight, edits or suggested edits or revisions or suggested revisions or comment
of or concerning the Report,” that request is precluded as privileged. As the Court stated, a
request for editorial process “maps directly onto what is covered by the privilege.” See Tra.,
8/11/21 Arg. on Mot. to Compel, at 55: 15-18.

       NG’s attempt to escape the Court’s years old privilege ruling is improper, and its
misrepresentation of its purpose in seeking AIP’s identity should not be rewarded.

 Respectfully submitted,



 /s/ Brendan Quigley______________                /s/ David Korzenik___________
 Brendan F. Quigley                               David Korzenik
 Counsel for Plaintiff Novagold Resources         Counsel for Defendant J Capital
